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                                  IN THE UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF TEXAS
                                           BEAUMONT DIVISION

        ROBISON, JEREMY, individually and on §
        behalf of his son, a MINOR, and all  §
        similarly situated persons,          §
                                             §
                Plaintiffs,                  §
                                             §                 Case No. 1:17-cv-00508
        v.                                   §
                                             §
        CNA INSURANCE COMPANY, et al.        §
                                             §
                Defendants                   §

                       DEFENDANT CONTINENTAL CASUALTY COMPANY’S REPLY
                        IN SUPPORT OF FIRST AMENDED MOTION TO EXCLUDE
                           EXPERT TESTIMONY OF DR. LINDELL K. WEAVER

                   Continental Casualty Company (“Continental”), Defendant, files this Reply Brief in

        Support of its First Amended Motion to Exclude Expert Testimony of Dr. Lindell K. Weaver (filed

        June 29, 2021) [Doc. 132] (the “Motion”).

                                                     SUMMARY

                   In their response, Plaintiffs concede that Dr. Weaver will only offer opinions on general

        causation, as opposed to both general and specific causation. However, Plaintiffs’ analysis of his

        proffered testimony far exceeds this limitation. Plaintiffs also misconstrue governing law, failing

        to explain the necessary showing Plaintiffs must make to rely upon evidence of general causation

        to establish specific causation. Moreover, Plaintiffs fail to address the fact that the opinions of Dr.

        Weaver, a non-examining physician, is contradicted by the examining physicians, meaning his

        opinions should be afforded little to no probative weight. Finally, Plaintiffs ignore the fact that in

        his report, Dr. Weaver fails to offer an individualized treatment plan for any single Plaintiff—

        undoubtedly because Dr. Weaver never examined a single Plaintiff in this case. As such, Dr.


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        Weaver should not be allowed to testify regarding any individual Plaintiff’s specific medical

        condition, the specific cause thereof, the medically necessary treatment for any Plaintiff, or the

        costs for the treatment of such Plaintiff.

                                          ARGUMENT AND AUTHORITIES

        A.         Plaintiffs admit that they only intend to offer Dr. Weaver as to general causation, yet
                   far surpass this limitation.

                   Plaintiffs readily concede that they only “intend to offer Dr. Weaver on general

        causation[.]”1 General causation is whether a substance is capable of causing a particular injury

        or condition in the general population, while specific causation is whether a substance caused a

        particular individual’s injury. Knight v. Kirby Inland Marine Inc., 482 F.3d 347, 351 (5th Cir.

        2007) (quoting Merrell Dow Pharm., Inc. v. Havner, 953 S.W.2d 706, 714 (Tex. 1997)). Carbon

        monoxide is present in the atmosphere—in automobile exhaust, generator exhaust, and the fumes

        from a barbecue grill. The general causation question is what exposure level, both concentration

        and time, is required for carbon monoxide to cause a long-term brain injury. Dr. Weaver fails to

        explain, so he has no relevant testimony on general causation to provide.

                   Even if Dr. Weaver’s opinions are admitted, they should be limited to whether carbon

        monoxide is capable of causing certain injuries or conditions in the general population. By

        Plaintiffs’ own admission regarding the limited nature of Dr. Weaver’s proffered opinions, he

        cannot opine as to specific causation—i.e., whether exposure to carbon monoxide caused any

        specific Plaintiff’s purported injuries, as alleged in this suit.

                   Plaintiffs’ concession, one undoubtedly motivated by the fact that Dr. Weaver has never

        personally examined a single Plaintiff, conflicts with their disclosure of Dr. Weaver’s opinions in



                   1
                  See Plaintiffs’ Response to Continental’s Motion to Exclude Expert Testimony of Dr. Weaver, at p. 5
        (emphasis added).
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        this case, which stated that he will testify as to the following:

                             Evaluations and treatment required to address the medical consequences of the
                              alleged carbon monoxide poisoning;

                             Required and reasonableness of costs of future medical treatment;

                             Diagnosis, prognosis and causation related to the brain damage and subsequent
                              medical complications and impairments due to the alleged carbon monoxide
                              poisoning; and

                             All of the subjects and information contained within his reports, affidavit, and the
                              subject matter covered in his deposition, once taken.2

                   Dr. Weaver initially provided a February 4, 2019 “preliminary” report that listed the 39

        Plaintiffs but provided no specific opinions as to any of them. He instead cites studies that

        indicated that a certain percentage of “carbon monoxide-poisoned patients” would have ongoing

        problems. Without examining any of the individual Plaintiffs or providing any discussion about

        their individual complaints or conditions, Dr. Weaver opined that “almost all have brain injury

        caused by the carbon monoxide poisoning of January 28, 2016.” In other words, Dr. Weaver’s

        report indicates that he intends to opine as to specific causation. See Havner, 953 S.W.2d at 714

        (“[S]pecific causation is whether a substance caused a particular individual’s injury.”).

                   Now, however, Plaintiffs themselves admit that Dr. Weaver can only opine as to general

        causation—whether carbon monoxide exposure is capable of causing a particular injury or

        condition in the general population—not whether carbon monoxide exposure caused the specific

        injuries alleged by Plaintiffs. Dr. Weaver’s testimony, if any, should be restricted to that limitation.

        B.         Plaintiffs misconstrue governing law regarding causation.

                   Despite conceding that Dr. Weaver is only offered to opine on general causation, Plaintiffs

        then cite to Merrell Dow. Pharmaceuticals, Inc. v. Havner for the proposition that “[i]n the absence



                   2
                       See Exhibit B to Plaintiffs’ Response, Expert Designation.
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        of direct, scientifically reliable proof of causation, claimants may attempt to demonstrate that

        exposure to the substance at issue increases the risk of their particular injury,” such as

        epidemiological studies. 953 S.W.2d at 715. Plaintiffs must do more than simply introduce into

        evidence studies showing a substantially elevated risk. Id.at 720. This burden would include

        “proof that [1] the injured person was exposed to the same substance, [2] that the exposure or dose

        levels were comparable to or greater than those in the studies, [3] that the exposure occurred before

        the onset of injury, and [4] that the timing of the onset of injury was consistent with that

        experienced by those in the study.” Id. Moreover, if other plausible causes of the injury exist, the

        Plaintiff must offer evidence excluding those causes with reasonable certainty, such as performing

        a differential diagnosis assessment. Id.

                   Here, Plaintiffs have failed to carry their burden to establish that Dr. Weaver fulfilled all

        of these requirements. It is also undisputed that Dr. Weaver did not perform a differential diagnosis

        assessment, which begins with an expert’s “ruling in” of plausible causes of an injury, then

        proceeding to rule out less likely causes until the most likely cause remains. See Junk v. Terminix

        Intern. Co., 628 F.3d 439, 449 (8th Cir. 2010) (quoting Kudabeck v. Kroger Co., 338 F.3d 856,

        860–61 (8th Cir. 2003)). Rather, Dr. Weaver cites statistics as to how many individuals he would

        expect to experience a significant injury out of the 179 individuals purportedly present on the day

        of the incident; since the number of named Plaintiffs is less than the expected number, he concludes

        that most or all of them must have such injuries.

        C.         Dr. Weaver cannot opine on treatment plans and associated costs for Plaintiffs he has
                   never seen.

                   The fact remains that Dr. Weaver’s one-size-fits-all treatment plan, which purports to

        identify future treatment costs, for the Plaintiffs—none of whom he has examined—conflicts with



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        the Plaintiffs’ own examining physicians.3 In attempting to deflect from Dr. Weaver’s failure to

        personally examine a single Plaintiff in the past five years, Plaintiffs cite a footnote in Hayes v.

        Gardner 376 F.2d 517, 521 (4th Cir. 1967). The footnote, however, corresponds to a paragraph

        in which the Fourth Circuit held that a non-examining physician’s testimony could not serve as

        substantial evidence when contradicted by a treating physician. Id. Further, the non-examining

        physician in Hayes himself admitted that he was “sure a family physician is always more familiar

        with a patient than one that is just looking at the objective evidence we have on paper.” Id.

        D.         Dr. Weaver does not opine on a specific treatment plan needed for any Plaintiff.

                   Dr. Weaver’s report fails to disclose a specific treatment plan, or associated costs, for any

        specific Plaintiff. For example, no one reading either of Dr. Weaver’s reports could determine

        what Dr. Weaver opines is the cost to diagnose or treat Kenneth Martin (one of the adult plaintiffs)

        or R.R. (one of the minor plaintiffs). “[A]ll expert witnesses … will be held to the disclosures

        contained within the four corners of their reports, and will not be permitted to backfill additional

        detail during trial testimony based on information that was not disclosed in the expert’s report.”

        See RMail Ltd. v. Amazon.com, Inc., 2:10-CV-00258-JRG, 2019 WL 10375642, at *5 (E.D. Tex.

        June 12, 2019). Since Dr. Weaver failed to disclose any specific treatment plan, or associated cost,

        in his expert report, he should be prohibited from testifying to one at trial.

                                                  REQUEST FOR RELIEF

                   Continental Casualty Company respectfully requests that the Court grant its Motion and

        exclude the opinions and testimony of Dr. Lindell K. Weaver, and for all other and further relief

        to which it is justly entitled.


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               See Exhibit E to Continental’s Motion, Dr. Brown Deposition, at 60:11-61:5; see also Exhibit F to Continental’s
        Motion, Dr. Prause Deposition, at 39:1-40:2. Plaintiffs’ examining physicians oppose Dr. Weaver’s treatment plan.
        Dr. Brown and Dr. Prause, for example, who have treated a number of Plaintiffs, disagree with Dr. Weaver’s treatment
        plan for R.R. and C.H., respectively, stating that neither need Adderall, Topamax, Rizatriptan, and/or Lunesta.
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                                             Respectfully submitted,

                                             HUSCH BLACKWELL LLP

                                             By: /s/ David H. Timmins
                                                 David H. Timmins
                                                 State Bar No. 00785106
                                                 david.timmins@huschblackwell.com
                                                 1900 N. Pearl St., Suite 1800
                                                 Dallas, TX 75201
                                                 Telephone: 214-999-6185
                                                 Facsimile: 214-999-6170

                                             FOLEY & LARDNER LLP

                                             By: /s/ Mike Seely
                                                 Mike Seely
                                                 State Bar of Texas No. 24054148
                                                 mseely@foley.com
                                                 1000 Louisiana, Suite 2000
                                                 Houston, Texas 77002-5011
                                                 Telephone:      713-276-5500
                                                 Facsimile:      713-276-5555

                                         FAEGRE DRINKER BIDDLE & REATH LLP

                                             By:/s/ Wayne B. Mason
                                                 Wayne B. Mason
                                                 Texas Bar No. 13158950
                                                 wayne.mason@faegredrinker.com
                                                 Susan Egeland
                                                 Texas Bar No. 24040854
                                                 susan.egeland@faegredrinker.com
                                                 Matt C. Sapp
                                                 Texas Bar No. 24063563
                                                 matt.sapp@faegredrinker.com
                                                 1717 Main Street, Suite 5400
                                                 Dallas, Texas 75201
                                                 (469) 357-2500 (Telephone)
                                                 (469) 327-0860 (Fax)

                                             ATTORNEYS FOR DEFENDANT
                                             CONTINENTAL CASUALTY COMPANY




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                                       CERTIFICATE OF SERVICE

                I certify that a true and correct copy of the foregoing document has been served upon the
        following counsel on July 20, 2021 by filing with the Court’s electronic filing system, which
        effected service on all counsel of record.

                   Jane S. Leger
                   Paul F. “Chip” Ferguson, Jr.
                   Mark C. Sparks
                   The Ferguson Law Firm, LLP
                   350 Pine Street, Suite 1440
                   Beaumont, TX 77701
                   Telephone: 409-832-9700
                   Facsimile: 409-832-9708
                   jleger@thefergusonlawfirm.com
                   cferguson@thefergusonlawfirm.com
                   mark@thefergusonlawfirm.com

                   Scot E. Sheldon
                   Moore Landrey, LLP
                   905 Orleans
                   Beaumont, TX 77701
                   Telephone: 409-835-3891
                   Facsimile: 409-835-2707
                   ssheldon@moorelandrey.com


                                                    /s/ Mike Seely
                                                    Mike Seely




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